CARS S4S-CV-48884-JMV-IBE BOGUMENA FILRAOHDRL? paade ph pegarbsgé

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

RICHARDINE NESMITH,
Plaintiff

V. SUMMONS IN A CIVIL CASE

IENERGIZER HOLDINGS, LLC, ET AL.,
Defendant
CASE
NUMBER: 2:18-CV—16534—JMV—-JBC

TO: (Name and address of Defendant):

iEnergizer Holdings, LLC
11009 Metric Boulevard, Building J, Suite 150
Austin, Texas 75252

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)
— or 60 days if you are the United States or a United States Agency, or an office or employee of
the United States described in Fed. R. civ. P. 12 (a)(2) or (3) — you must serve on the plaintiff
an answer to the attached complaint or a motion under rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose
name and address are:

Amy L. Bennecoff Ginsburg, Esquire
KIMMEL & SILVERMAN, P.C.

30 East Butler Pike

Ambler, PA 19002

(215)540-8888

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

s/ WILLIAM T. WALSH
CLERK

 

   

ISSUED ON 2018-12-04 17:08:18, Clerk
USDC NJD

 

 
Case dB SYR ERSEIMY BB Cunt YTE E fed T4981 0 Baye oro Ape IrAgAD: 3”
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any) iENERGIZER, INC.

 

was received by me on (date) 4-2-19 :

O I personally served the summons on the individual at (place)

 

on (date) ; or

 

1 I left the summons at the individual’s residence or usual place of abode with (mame)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

Xl I served the summons on (name of individual) DUSTIN R. , who is

designated by law to accept service of process on behalf of (name of organization)

 

 

 

iENERGIZER, INC.
11009 METRIC BLVD, BLD J, STE 150, AUSTIN, TX 75252 on (date) 1-2-19 > OF
1 I returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: 1-2-19

Server's signature

NATHAN DOWD, TXCPS PSC-5323, EXP 6-30-20

Printed name and title

 

7500 BROOKHOLLOW DR, AUSTIN, TX 78752

Server's address

Additional information regarding attempted service, etc:

 
